                       EXHIBIT B




Case 1:23-cv-00878-TDS-JEP Document 56-2 Filed 01/31/24 Page 1 of 2
• Upload a PDF Filing • Order a Document Online • Add Entity to My Email Notification List • View Filings


Non-Profit Corporation

Legal Name
North Carolina Election Integrity Team, co.


Information

SosId: 2415603
Status: Current-Active 
Date Formed: 5/17/2022
Citizenship: Domestic
Annual Report Due Date:
Registered Agent: Womack, James Kermit, Jr


Addresses

  Mailing                       Principal Office            Reg Office
  1615 Boone Trail Road         1615 Boone Trail Road       1615 Boone Trail Road
  Sanford, NC 27330-9200        Sanford, NC 27330-9200      Sanford, NC 27330-9200


  Reg Mailing
  1615 Boone Trail Road
  Sanford, NC 27330-9200


Officers


  Jay Delancy                  James Kermit Womack , Jr
  296 Fairway Lane             1615 Boone Trail Road
  Sanford NC 27332-8392        Sanford NC 27330-9200




             Case 1:23-cv-00878-TDS-JEP Document 56-2 Filed 01/31/24 Page 2 of 2
